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                                Exhibit 2
                               (redacted)
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                 UNITED STATES DEPARTMENT OF JUSTICE

                 ANTITRUST DIVISION, WASHINGTON, D.C.

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           PURSUANT TO CIVIL INVESTIGATION DEMAND NO. 30762



                             HIGHLY CONFIDENTIAL



           REMOTE VIDEOTAPED DEPOSITION OF

                        THURSDAY, OCTOBER 28, 2021




       STENOGRAPHICALLY REPORTED BY:

                 ANDREA M. IGNACIO, CSR, RPR, CRR, CCRR, CLR

                 CSR LICENSE NO. 9830

                 JOB NO.     2021-816725
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                                                                                      , not to respond to that question to the
                                                                     extent it requires you to reveal attorney-client
                                                                     privileged information.
                                                                           MR. NAKAMURA: Q.                         , what are the
                                                                     names of the global regulatory inquiries that Project
                                                                     Sunday sought to address?
                                                                        A I'm unable to answer that. I'll -- I'm
                                                                     following Mr. Mahr's instruction in this case.
                                                                           MR. NAKAMURA: Mr. Mahr, are you taking the
                                                                      position that the names of these specific regulatory
                                                                      inquiries are privileged information for which
                                                                                        has a right to refuse to answer my
                                                                      question?
                                                                            MR. MAHR: We are.
                                                                            And I'll say, as I have said before, we are
                                                                      working with the Department of Justice to get you
                                                                      information on these topics that are not confidential,
                                                                      but we're not going to do that on the fly in a
                                                                      deposition.
                                                                            MR. NAKAMURA: Q. Who at Google provided you
                                                                      with legal advice regarding Project Sunday,
                                                                                       ?
                                                                            MR. MAHR: Again, you can provide the name of
                                                                      the lawyers, to the extent you recall.
                                                                            THE WITNESS: Kent Walker is the one whose

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          THE WITNESS: Okay. With that instruction,                  name I really recall.
     it was a discussion. We had an early discussion of                     MR. NAKAMURA: Q. And did anyone -- any
     what we would -- how we would proceed with our display          attorneys at any outside law firm provide you with
     advertising business in the light of an evolving                legal advice regarding Project Sunday?
     regulatory and privacy landscape.                                  A I don't recall engaging with any outside
          MR. NAKAMURA: Q. And                         to be         attorney on this matter.
     clear, do you have other knowledge regarding what                  Q Were you one of the Google employees who
     Project Sunday is that you are refusing to provide me           initiated Project Sunday?
     based on the instruction of Mr. Mahr?                              A It's a small group of us that -- including
        A There is a little bit more detail I can                     Kent Walker that said we should look at this question.
     recall, but that is discussion I've had with Kent                   Q Did                also initiate Project
     Walker.                                                          Sunday?
          MR. MAHR: So I'll instruct you -- for                          A I'm unable to tell you, you know, who exactly
     purposes of the record, I will instruct you formally,            initiated it. But I had discussions with Kent for
                     not to disclose any -- any                       sure and a couple of other employees. It's -- it's
     communications you had with Mr. Walker or any other              not like many people are involved, so I don't know
     counsel concerning these subjects.                               what to make of initiating versus not.
          MR. NAKAMURA: Q. And to complete the                           Q And were you one of the key decision makers
     record, are you going to follow Mr. Mahr's                       on Project Sunday?
     instruction?                                                        A To my knowledge, there was no decision made.
        A I do plan to follow Mr. Mahr's instruction.                 So -- so I wouldn't call myself or anybody a decision
        Q Thank you.                                                  maker.
          And what specific global regulatory inquiries                  Q When you initiated the project, if there were
     did Project Sunday seek to address?                              to have been a decision, would you have been one of
          MR. MAHR: I will offer the same instruction,                the individuals who would have made a decision as to
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     any recommendation stemming from Project Sunday?           attorney-client privileged or attorney work product.
         A I would have been.                                         THE WITNESS: Okay.
         Q And who else would have been?                              MR. NAKAMURA: Q.                         , I'll ask
         A It would be Kent to -- to look at it from a          again: How would you describe your role on Project
     legal aspect, and                     and likely Philipp   Sunday?
     Schindler as well.                                            A One of a small group of senior people looking
         Q What about Don Harrison?                             at various factors at a high level of global trends.
         A I don't recall if he was involved.                      Q And is there information that you are not
     reports to Philipp. So I -- I would look to Philipp        providing to me or refusing to provide to me based on
      as -- as one of the key players.                           Mr. Mahr's instruction?
         Q Did you ever discuss Project Sunday with                 A In regard to which specific question?
      Mr. Schindler?                                                   If you could clarify, I'll answer that.
         A If we haven't -- yeah, I don't recall. But               Q Do you have any additional knowledge
      if we discussed it -- if we haven't discussed it, then     regarding your description of the role you played on
      at some point we would have to.                            Project Sunday that you are refusing to provide to me
         Q Is Project Sunday still an ongoing project?           based on Mr. Mahr's instruction?
         A To my knowledge, we never terminated it or               A Not really.
      arrived at a definitive outcome. So in that sense,            Q Well, let me just try it this way then: What
      it's open. But it's not like it's -- it's something        factors did you look at when determining how to
      we're working on every day. It's open-ended at this        proceed with Project Sunday?
      point.                                                           MR. MAHR: Objection.
         Q And when was the last meeting you had that                  I'll instruct the witness not to respond on
      you can recall regarding Project Sunday?                   the grounds of privilege and work product protection.
         A I'm having to guess here, but it would be                   MR. NAKAMURA: Q. And are you going to
      over a year ago. That's just a guess.                      follow Mr. Mahr's instruction?

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        Q Okay. How many meetings, roughly, did you                A I am.
     attend regarding Project Sunday?                              Q And did you understand the connection to
        A A couple.                                             global regulatory inquiries to Project Sunday -- I'm
        Q And by "a couple," is that more than five?            sorry. Strike that.
     Less than five?                                                  Did you understand there to be a connection
        A Less than five is my recollection.                    between global regulatory inquiries and Project Sunday
        Q Okay. And when did you come to understand             when you initiated the project?
     that your work on Project Sunday was in response to              MR. MAHR: Objection; asked and answered.
     global regulatory inquiries?                                     But you may answer if you're able.
         A Early on in discussions with Kent Walker.                   THE WITNESS: Did I understand -- sorry. If
         Q Approximately when did you have those early           you could repeat that.
      discussions with Mr. Walker?                                     MR. NAKAMURA: Sure.
         A Oh. As I said earlier, the rough time frame              Q Did you understand that Project Sunday was a
      is between the beginning of 2019 and, you know, the        response to global regulatory inquiries at the time
      middle -- the second half of 2020. But that's just my      you initiated the project?
      rough recollection, because beyond that, I don't              A The way I'd describe it, my best description
      recall.                                                    is, looking across a spectrum of the global
         Q And what role did you have on Project Sunday          environment ranging from privacy concerns to
      other than -- well, I guess you said you were not a        regulations, how should we think about the future for
      key decision maker, which is interesting.                  our business? That was really the -- the broad
            But what -- how would you describe your role         question we were addressing.
      on Project Sunday?                                               It -- it was later that, you know, we got to
            MR. MAHR: Objection.                                 learn about specific regulations. So my point is it's
            I'll instruct              not to respond to         not like I understood a lot of regulations, and then
      that question to the extent it requires him to reveal      decided to do anything here.
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        Q Okay. Who was the day-to-day Google employee
     in charge of Project Sunday?
        A                    was involved. I'm trying to
     recall whether                 was involved. Kent Walker
     and, I believe, Ted Lazarus were also involved.
        Q As part of your work on Project Sunday, did
     you ever see any material prepared by the investment
     banking firm Lazard, L-A-Z-A-R-D?
        A I don't recall seeing that.
         Q Okay. And I want to just confirm these
      things for the record.
            Did Google consider any divestitures as part
      of Project Sunday?
            MR. MAHR: Same objection not to answer on
      the grounds of attorney-client privilege and attorney
      work product.
            MR. NAKAMURA: Q. Will you follow that
      instruction,               ?
         A I will.
         Q Did Google consider any acquisitions as part
      of Project Sunday?
            MR. MAHR: Same object- -- same instruction.
      Objection and same instruction. Sorry.
            MR. NAKAMURA: Thank you.
         Q Will you follow that instruction,

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